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                 EXHIBIT B-086
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                                                                                         FILED·IN
                                                                                                OFFICE

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                      IN THE SUPERIOR COURT OF FULTON COUNTY
                                 STATEOF GEORGIA          I


IN RE 2 MAY2022 SPECIALPURPOSE
GRANDJURY -- SUBPOENAFOR                                       2022-EX-000024
GOVERNORKEMP


                         ORDER DENYING MOTION TO QUASH:

         On 20 January 2022, the District Attorney of Fulton County, the elected official

responsible for investigating, charging, and prosecuting felony criminal offenses in this

Circuit, petitioned the Chief Judge of the Superior Court of Fulton County to convene the

entire Superior Court bench to consider the District Attorney's request for a special

purpose grand jury. That grand jury's charter, if approved, would be to conduct a criminal

investigation into "the facts and circumstances relating directly or indirectly to possible

attempts to disrupt the lawful administration of the 2020                   elections in the State of

Georgia" and to prepare a report and recommendation for the Dist~ict Attorney advising
                                                                                 '
her whether she should seek to prosecute anyone for such potential crimes. On 24
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January 2022, the Chief Judge, having received a majority of the twenty judges' assent,
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issued an Order authorizing the convening of a special purpose grand jury for this

criminal investigation. 1

         On 2 May 2022, the special purpose grand jury was selected and sworn in; in June

2022    it began receiving evidence and investigating the possibility of criminal interference

in the 2020 general election. On 4 August 2022, the District Attorney issued a subpoena

to Governor Brian Kemp; that subpoena, just like those received by;the Attorney General


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  Nothing in the convening request (or the subsequent convening Order) indicated that the District
Attorney, the Superior Court bench, or the special purpose grand jury would be Jonsidering civil violations
or the possibili:ty of bringing any civil action. The focus and purpose were and have been ever since to
investigate criminal violations and consider criminal charges.                  I
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and the Secretary of State, directed the Governor to appear before the special purpose
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grand jury so that that investigative body could learn more about whether criminal
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conduct had occurred in connection with alleged efforts to interfere with
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                                                                          the 2020 general

election in Georgia. According to both the pleadings from and :the lawyers for the

Governor and the District Attorney, this subpoena came only after weeks of tortured and

tortuous negotiations over obtaining an interview with the Governor -- the details of

which do not bear repeating here, other than to note that both sides share responsibility

for the torture and the tortuousness.

       The date of the Governor's subpoenaed appearance before the special purpose

grand jury was changed at least once, at his lawyer's request. On the eve of the most

recently agreed-upon date for the Governor to appear, his lawyers filed a motion to quash

the subpoena. The motion invoked sovereign immunity and assJrted that this Court
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lacked jurisdiction to issue, enforce, or even consider the subpoena: The State promptly
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responded and, on 25 August 2022, the Court held a public hearing oh the matter. Having
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considered the pleadings, oral arguments, and relevant case law, tl;ie Court finds that it
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does enjoy jurisdiction and that the subpoena should not be quashed; the motion is

DENIED. However, the Court will delay the Governor's appearance before the special
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purpose grand jury until some date soon after the 8 November 202? general election.

                                        *      *       *·

       In Georgia, one cannot sue "the State" unless the State has enacted a specific

waiver, legislative or constitutional, that permits a particular species of civil claim -- tort,

contract, declaratory judgment, etc. -- to be brought against it. Thkt is, the State and its
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agencies and agents (of which the Governor is one) enjoy sorereign immunity, a
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constitutional doctrine that "forbids our courts to entertain a lawsuit against the State

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without its consent." Lathrop v. Deal, 301 Ga. 408, 408 (2017); see Jlso Ga. Const. art. I,

§ 2, ,rIX(e). Absent that consent, Georgia's courts lack jurisdiction Jo consider the claim
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brought against the State. McConnell v. Dept. of Labor, 302 Ga.j 18, 18-19 (2017) (if

sovereign immunity applies, a court "lacks authority to decide the Jerits of a claim that   I




is barred"); see also City of Coll. Park v. Clayton Cnty., 306 Ga. 301; 314-15 (2019).

        Both sides agree with the foregoing -- as they should, as it is well-settled law.

Where they diverge is whether sovereign immunity applies in the cbntext of this special

purpose grand jury's criminal investigation. The Governor insists he is immune to the

subpoena because there is no waiver, legislative or constitutional, that would allow the

grand jury to require him (or, presumably, any other state agent, including the Secretary

of State and Attorney General 2 ) to appear in what he characterizes ~s a civil proceeding.
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The District Attorney argues that sovereign immunity does not &pply in this context
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because, first, there is no lawsuit being brought against the State (01~ the Governor), and
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second, sovereign immunity simply has no application in criminal :n;iatters.
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        The Governor relies primarily on State v. Bartel, 223 Ga.!App. 696 (1996), in
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support of his claim that what this special purpose grand jury is doing is conducting a civil

investigation.3 Bartel does not provide the support his claim need~ because Bartel does

2Who, interestingly, is the lead signatory on the Governor's motion seeking quash'al (despite having himself
appeared before the special purpose grand jury without incident, objection, or invocation of the doctrine of
sovereign immunity).

3 He additionally relies on two cases that establish that a grand jury cannot conduct civil investigations of
state offices and officials; rather, a grand jury's civil authority is limited by statute -- and likely by sovereign
immunity, although these cases do not reach that doctrine-- to investigations of cqunty-level entities. These
cases are inapposite because this special purpose grand jury is engaged in 1a criminal investigation.
Moreover, one of the two cases, Floyd Cnty. Grand Jury v. Dep't of Family & Children Servs., 218 Ga. App.
832 (1995), suggests, albeit in dicta, that had the grand jury in that case be~n engaged in a criminal
investigation, it would have been authorized to subpoena state agents. The ~overnor's legal team also
points the Court to Kenerly v. State, 311 Ga. App. 190 (2011), but that case merely reaffirmed what the
District Attorney has always acknowledged: special purpose grand juries do not have the authority to issue
indictments. Kenerly in no way prohibits special purpose grand juries frbm engaging in criminal
investigations and indeed the special purpose grand jury impanelment statute explicitly allows it. O.C.G.A.
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not say what he says it does. In Bartel, a witness who had appea~ed before a special

purpose grand jmy in Floyd County was later prosCcutedfor alleg1dly having perjured

himself while testifying. The Bartel special purpose grand jury was 4onvened to conduct

a civil investigation into "alleged irregularities in the operations 6f the Floyd County
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Hospital Authority." 223 Ga. App. at 696. Contrary to the Governor's presentation at the
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hearing on his motion to quash, the court in Bartel did not "co~clude[] that special

purpose grand juries conduct only civil investigations." (Movant's PowerPoint at Slide 3).

No such language can be found in Bartel, which dealt with the nature of the oath the

witnesses took before testifying. 4 It is correct to say that the special purpose grand jury

in Bartel had, as its purpose, a civil investigation. It is incorrect to say that the Court of

Appeals in Bartel in any way concluded that the only purpose a special purpose grand

jury can have is civil.

        Which brings us back to this special purpose grand jury. As d~scribed at the outset
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of this Order, its purpose is unquestionably and exclusively to ;conduct a criminal

investigation: its convening was sought by the elected official who:investigates, lodges,

and prosecutes criminal charges in this Circuit; its convening Order'.specifies its purpose

as the investigation of possible criminal activities; and its final output is a report

recommending whether criminal charges should be brought. Unlik~ the special purpose    I




grand jury in Bartel, it is not investigating "irregularities" in hospital administration. It


§ 15-12-1oo(a) ("The chief judge of the superior court of any county ... on his or her own motion [or] on
motion or petition of the district attorney ... may request the judges of the superior couri: of the county to
impanel a special grand jury for the purpose ofinvestigating any alleged violation qf the laws of this state ....).
That a special purpose grand jury engaged in a criminal investigation cannot issue an indictment does not
diminish the criminal nature of its work or somehow transmogrify that criminal investigation into a civil
one. Police officers, too, lack the authority to indict anyone, but their investigati~ns are plainly criminal.

4 Indeed, hopefully due only to inadvertence,
                                            the Governor's legal team, in its vi~ual presentation making
this unfounded claim about the holding of Bartel, directed the Court via citatio~ to a page of the opinion
(699) that does not exist.                                                       i



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will not be recommending whether anyone should be sued or should be referred for civil

administrative proceedings; it will be recommending whether anyone should be

prosecuted for crimes. Put simply, there is nothing about this special purpose grand jury
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that involves or implicates civil practice.s                                        I
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        Because neither the special purpose grand jury nor the tjistrict Attorney has
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brought (or is even contemplating) a lawsuit (i.e., a civil proc~eding) against the

Governor, his office, or any of his agents, there is no sovereign immutj.ity to invoke. Again,

to quote Lathrop, that doctrine "forbids our courts to entertain a law~uit against the State

without its consent." 301 Ga. at 408. It is clear that the Governor:is not consenting to
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this subpoena. It is also clear that his lack of consent is of no juris~ctional moment to

this Court because there is before it no civil proceeding, suit, or astion. The Governor

must honor the subpoena -- as have the Secretary of State and the .Attorney General and
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many other agents of the State in these criminal proceedings. SoverJign immunity wards

off civil actions, not criminal ones. 6                                             !
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        Given that decision, the Court turns next to the process co:hcerns raised by the

Governor: about what must he testify and when? As with several other witnesses who, in

response to their lawful subpoenas, raised concerns about various privileges, the
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Governor's questioning will have limits. Neither the District Att9rney nor the grand


s The one exception to date has been the lack of civility among the attorneys involved. As the streams of
publicly revealed e-mails demonstrate, that all-too-common and always unwelcome aspect of civil litigation
has intruded upon these criminal proceedings.
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6 That this is so was made   all the more plain at the hearing by (1) the fact that every sovereign immunity
case the Governor's well-resourced legal team cited in court and in its motiori to quash involved civil
proceedings; (2) the Court's observation that "the State" is the ultimate instigatoti of any legal proceedings
that will flow from this investjgation (i.e., an indictment styled "The State of Georgia versus Defendant X"),
which would explain why there are. no "criminal" sovereign immunity appellate' cases asserting that the
State is immune from itself; and (3) the District Attorney's apt example of what w6uld happen in a world in
which sovereign immunity applied to criminal actions: police officers could floutisubpoenas, GBI forensic
experts couldresist swnmonses on the basis that they wo,k at the Statelevel and rot the "local"level, et\


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Jurors may ask the Governor about the contents of any attorn~y-client privileged
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communications.         The Court is aware of several conversations Iof interest to the

investigation in which the Governor participated and to which ;the attorney-client

privilege applies. As with those other witnesses, questioning must cease about the
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contents of the communications if the privilege is validly raised. Undoubtedly, other
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issues will arise that do not fall neatly into this category of privilege. If they cannot be

resolved by the fleet of lawyers on each side, they should be brought to the Court for

resolution (or at least helpful direction).?

        Remaining is the question of when the Governor will need to honor his subpoena.

The answer is after the 8 November 2022 general election. The Governor is in the midst

of a re-election campaign and this criminal grand jury investigation should not be used

by the District Attorney, the Governor's opponent, or the Governor .himself to influence

the outcome of that election. The sound and prudent course is to l~t ~he election proceed

without further litigation or other activity concerning the Governor'~ involvement in the
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special purpose grand jury's work. Once the election is over, the Court expects the

Governor's legal team promptly to make arrangements for his appe.arance. 8

        SO ORDERED this 29 th day of August 2022.


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                                                               g obert C.I. McBurney
                                                           Superior Court of Fulton County
                                                           Atlanta Judicial Circuit


7The Court declines the Governor's invitation to import wholesale into Georgia la'Vthe concept of executive
privilege. Its time may come, but this is not it.                                 i
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8 The Court also declines to issue a certificate of immediate review of this decisidn because it is clear that
sovereign immunity does not apply to criminal matters. See Rivera v. Washingto~, 298 Ga. 770, 777 (2016)
(recommending issuance of certificate of immediate review when resolution of immunity issue is not clear).
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